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MAE H. BRooKs, JUDGMENT IN A cIer cAsE
Plaintiff,

V.

JO ANNE B. BARNHART,
Commissioner of Social

Security, CASE NO: 05-2311 Ml/P

Defendant.

 

JUDGMENT

 

JUDGMENT BY COURT. This action is before the Court on Plaintiff’e
Motion for Entry of Judgment Under Sentence Four of 42 U.S.C. §
405(g) With Remand of the Cauee to Defendant, filed July 29, 2005.

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in accordance
with the Order of Remand, filed August l, 2005, this case is, by
agreement of the parties, REMANDED to an Administrative Law Judge
for additional findings.

APPROVED:

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ON . MCCALLA
UNI D STATES DISTRICT COURT

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Date L/ Clerk |BP|EHE‘EE E

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Th'le document entered on the docket sheet in compliance /-

With Hu|e 58 and/or 79(3] FRCP on ’ `O.( /%

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:05-CV-023]1 Was distributed by faX, mail, or direct printing on
August 1, 2005 to the parties listed.

 

 

Andrew E. Bender

LAW OFFICES OF ANDREW E. BENDER
382 Washington Ave.

Memphis7 TN 38105

Honorable J on McCalla
US DISTRICT COURT

